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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA
MIAMI DIVISION

ANGELA VAZQUEZ and : CASE NO. 07-21276-CIV-UNGARO
TOP REALTORS, INC., :

Magistrate Judge O’Sullivan
Plaintiffs,

Vs.

4011 PROFESSIONAL CENTER:

CONDO., INC., : PLAINTIFF’s RESPONSE TO

: DEFENDANT’ s MOTION FOR
Defendant. : SUMMARY JUDGMENT
/

Plaintiff, through counsel, files her Response to Defendant’s
Motion For Summary Judgment. Plaintiff’s Statement of Facts

("SOF") is filed concurrently herewith.

], INTRODUCTION

In brief, as evidenced by Plaintiff’s Statement of Facts,
Plaintiff has established that she was disabled on the date that
she fell at Defendant’s building located at 4011 W. Flagler St.,
Miami (the "Building") and that she is now more disabled because of
that fail. Defendant’s failure to proffer any medical evidence to
support its position that Plaintiff is not disabled is fatal to its
motion.

Plaintiff’s Statement of Facts also demonstrates that
Defendant’s Building not only violates Title III of the ADA in
several key areas, it knowingly violated a Court approved
Settlement Agreement by not making its building compliant with

Title III of the ADA. Had Defendant complied with that May 17,
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2002 Settlement Agreement, Plaintiff would not have been injured at
the Building as she was on March 12, 2007.

Defendant’s myopic concentration of Plaintiff’s physical
condition just prior to her fall at the Building on March 12, 2007
is misplaced. Plaintiff did not file her ADA Title TIft claim until
after her fall at the Building. As such, for purposes of analyzing
Plaintiff’s claim of disability, what her physical condition was

prior to her fall is irrelevant.

Il. UNDISPUTED FACTS

A. Plaintiffi’s Disabled Status

Plaintiff is disabled as defined by the Americans With
Disability Act since her movements and her ability to walk are
extremely restricted and have gotten significantly worse since her
fall at the Building. SOF 4g 14-20.!

Plaintiff, who is 67 years old, has not worked since 1988
because of a combination of serious medical conditions. SOF q11.
On the date of her fall at the Building, Plaintiff was approved for
a handicap sticker due to her walking limitation. SOF q11. In
2000, Plaintiff was declared "disabled" by her medical doctor due
to her bad back and since that date until 2005*, she received
social security benefits. SOF q11.

Before Plaintiff had an operation on her back in August 2006,

Plaintifrt was unable to stand, walk or move without being in

sor" = Plaintiff’s Statement of Facts.

*The benefits stopped due to a reason not related to
Plaintiff’s disabled status.

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agonizing pain. Plaintiff had to use a cane or a walker all of the
time. On a good day, Plaintiff could walk 10-15 feet without

having to stop to grab onto something or to rest. Plaintiff could
not walk down or up steep hills or ramps like the ramp in the
Building without receiving assistance from someone. On a bad day,

Plaintiff couid not even get out of bed. SOF qi2.

After the operation in August 2006, the pain in Plaintiff’s
back lessened so that she was not in agony every time that she
moved. Plaintiff’s ability to walk, stand or even move, however,
was still extremely restricted but because Plaintiff was not living
in agony, Plaintiff was better than before the operation. That is
why Plaintiff described her condition after the operation but
before her fall at the Building as "fine" since less pain is better
than agonizing pain. SOF 13.

From the time that Plaintiff’s daughter moved into the
Building, because of Plaintiff’s physical limitations, Plaintiff
did not use the stairs to exit the Building that often since she
could only use the stairs when she received assistance from someone
to go up or down the steps. For that reason, like the other
wheelchair users or persons using canes/walkers going to the
Building, whenever Plaintiff went into the Building or exited from
at, Plaintiff almost always used the Building’s ramp. SOF q14.

Because the Ramp is extremely steep, however, Plaintiff almost
always received assistance from someone at the Building to go down
or up the ramp. On most occasions, the Building’s former

Maintenance Manager, Mr. Humberto Aimenteros, used to help

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Plaintiff up and down the ramp. When no one was around to heip
Plaintiff up or down the ramp, Plaintiff would grab onto the ramp’s
railing with both hands and walk extremely slowly up or down the
ramp. Plaintiff could not and cannot walk up or down the
Building’s ramp without holding onto the railing with both hands or
without getting assistance from someone. SOF q15.

On March 12, 2007, at around 2:00 P.M., Plaintiff exited the
Building using its ramp. Since Plaintiff did not find Mr.
Aimenteros to help her down the ramp, Plaintiff grabbed onto the
railing with both hands and slowly started down the ramp. At that
time, because the ramp was slippery from the grey paint and its
steep incline, Plaintiff fell and hurt herself. SOF 416.

On the date that Plaintiff fell while going down the
Building’s ramp, based on injuries to her back, her asthma and her
heart condition, according to the American Medical Association’s
Guidelines, Plaintiff was 20% disabled for her body as a whole
Since Plaintiff had metal screws and rods/implants inserted into
her back from the August 2006 operation. After Plaintiff’s fall,
however, her physical condition has worsened to the point where
Plaintiff’s right foot simply does not work since she has no
sensation in that foot and Plaintiff almost always has to use a
cane or walker to go anywhere. SOF 417.

After the fall, on a good day, Plaintiff can walk 20-25 feet
without assistance and for a duration of less than five (53
minutes. While Plaintiff’s doctors encourage Plaintiff to not use

a cane or walker since that may reduce any atrophy to her muscles,

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after the fall, Plaintiff almost always uses a cane or walker and
she always takes pain medications for her feet and back. The
EEOC’s regulations provide that "an individual who, because of an
impairment, can only walk for very brief periods of time would be
substantially limited in the major life activity of walking." 29
C.F.R. pt. 1630 App. §1630.2(3)- Sometimes to lessen the pain when
Plaintiff has to walk more than 20 feet, Plaintiff walks sideways
since that hurts less than walking straight ahead. SOF 418.

On a bad day, after the fall at the Building, Plaintiff is
back to not even getting out of bed due to the pain in her feet and
back. Most nights Plaintiff either cannot get to sleep because of
the pain or she wakes up several times during the night because of
the pain in her feet and back. On Plaintiff’s bad days, she cannot
visit her daughter at the Building. SOF 419.

B. The Building’s ADA Title IIT Violations

The Building’s ramp violates ADA Title III. SOF q20.

The Building’s entrance violates ADA Title III. SOF 421.

The Building’s elevator violates ADA Title III. SOF 422.

The Building’s bathrooms violate ADA Title Ili. SOF 423.
Cc. Defendant Knowingly Violated Title III Of The ADA

Prior to Plaintiff’s fall, on May 17, 2002, in an ADA Title
III case brought against Defendant, Defendant agreed to modify and
repair the Building so that it complied with Title III of the ADA.
Within a two (2) year time span from May 17, 2002 (i-.e., May 18,
2004), Defendant specifically agreed to improve and/or modify the
Building in the following manners to comply with Title III of the

ADA:
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a. Parking - Defendant agreed to add one (1) disabled
parking spot;

b. Entrance - Defendant agreed to modify its entrance with
either a ramp or a lift;

Cc. Bathrooms - Defendant agreed to add a single unisex
disabled bathroom with appropriate signage;

d. Elevator - Defendant agreed to modify its elevator with
a standard disability improvement package;

e. Drinking fountain - Defendant agreed to remove ail
drinking fountains; and

£. Exterior door handles - Defendant agreed to add lever
exterior door handles to all units, the unisex disables
bathrooms and exits.

SOF 44

On May 20, 2002, the Settlement Agreement was approved by the
U.S. District Court Judge assigned to the ADA Title III case. SOF
m5.

On February 19, 2004, Plaintiffs in the first ADA Title III
case brought against Defendant filed a Motion To Enforce Settlement
Agreement based on Defendant’s failure to take any action to comply
with the Settlement Agreement. SOF 4.

On March 16, 2004, Defendant, who was being represented by
Defendant’s current counsel, filed its response to the Motion To
Enforce Settlement Agreement by claiming that Defendant was well on
its way to complying with all terms and conditions of the
Settlement Agreement and that by May 18, 2004, Defendant will have
brought the Building into compliance with Title III of the ADA as
required by the Settlement Agreement. SOF 7.

Based on Defendant’s representations made in its Response, on

April 15, 2004, the U.S. District Court Judge assigned to the first
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ADA Titie III case denied the Motion To Enforce Settlement. SOF
18.

On January 25, 2008, Defendant’s Corporate Representative’s
deposition was taken and Defendant’s Accountant/Property Manager
appeared on behalf of Defendant. In that deposition, Defendant’s

Corporate Representative admitted the following:

a. The Settlement Agreement required that all changes be
made on or before May 18, 2004;

b. Defendant completed the required parking modifications on
time;

c. Defendant failed to complete or even start the required
ramp and/or entrance modifications as of the date of the
deposition;

d. Defendant failed to compiete the required unisex disabled
bathroom modifications as of the date of the deposition;
and

e. Defendant claims that it completed the required elevator

retrofit in late 2007 or early 2008.

SOF q9.

Ill. STANDARD OF REVIEW

This Court, in reviewing Defendant’s Motion For Summary
Judgment, is guided by the standard set forth in Federal Rule of
Civil Procedure 56(c), which states, in relevant part, as follows:

The Judgment sought shall be rendered forthwith if the
pleadings, depositions, answers to interrogatories and
admissions on file, together with the affidavits, if any,
show that there is no genuine issue as to any material

fact and that the moving party is entitled to Judgment as
a matter of law.
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The moving party bears the burden of meeting this exacting

standard.> That is, "“[t]he moving party bears ‘the initial
responsibility of informing the ... court of the basis for its
motion, and identifying those portions of the ‘pleadings,

depositions, answers to interrogatories, and admissions on file,
together with the affidavits, if any, which it believes demonstrate
the absence of a genuine issue of material fact./’'"

in assessing whether the moving party has satisfied this
burden, the court is required to view the evidence and all factual
inferences arising therefrom in the light most favorable to the
non~moving party.* If the record presents factual issues, as in
the instant case, the court must deny the motion and proceed to
trial.§ Even where the parties agree on the basic facts, but
disagree about the inferences that should be drawn from those

facts, as in this case, summary judgment is still inappropriate.’

*“Celotex Corp. vv. Catrett, 477 U.S. 317, 322-323 (1986);
Adickes v. 8.H. Kress & Co., 398 U.S. 144, 157 (1970).

‘U.S. v. Four Parcels of Real Property, 941 F.2d 1428, 1437
(11th Cir. 1991) (quoting Celotex, 477 U.S. at 323).

“See Sheckells v. Agv-Usa Corp,, 987 F.2d 1532 (11th Cir.
1993); Browning v. Peyton, 918 F.2d 1516, 1520 (i1th Cir. 19990);
Clemons v. Dougherty County, Ga., 684 F.2d 1365, 1368 (11th Cir.
1982); Auqusta Tron & Steel Works, Inc. v. Employers Ins. of
Wausau, 835 F.2d 855, 856 (11th Cir. 1988) (per curiam).

‘Adickes, 398 U.S. at 157; Anderson v. Liberty Lobby, Inc.,
477 U.S. 242, 255 (1986).

‘Anderson, 477 U.S. at 255; U.S. v. Twenty (20) Cashier’s
Checks, 897 F.2d 1567, 1569 (11th Cir. 71990). As noted by the
court in Anderson, "[c]redibility determinations, the weighing of
evidence, and the drawing of legitimate inferences from the facts
are jury functions, not those of a Judge. ..." 477 U.S. at 255,
See also Ryder Int’l Corp. v. First Amer. Natl. Bank, 943 F.2d

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Based on the above-mentioned exacting standards to grant
summary judgment, and Plaintiff’s proffer that she is disabled,
that she had and has standing to bring the instant claim, and that
Defendant knowingly violated Title III of the ADA based on the
Building’s multiple ADA Title III violations, summary judgment in

the instant case should be denied.

7521, 1523 (11th Cir. 1991).
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IV. ARGUMENT & CITATION OF AUTHORITY

As a preliminary matter, the language of the Titie ITI of the
ADA is "a remedial statue, which should be broadly construed to
effectuate its purpose of eliminating discrimination against the
disabled in our society."® The provisions of Title III of the ADA
prohibits discrimination against disabled persons, like Plaintiff,

in any place of public accommodation. See 42 U.S.C. §§12102(2),
12181(7).9

“See Trafficante v. Metropolitan Ins. Co., 409 U.S. 205, 209
(1972); Steger v. Franco, Inc., 228 F.3d 889, 893 (8th Cir. 2000);
Dunkelberger v. Uni-Marts, 1998 WL 195906, at *2 (E.D, P.A. April
14, 71998).

"In enacting Title III of the ADA, Congress found that:

(1) some 43,000,000 Americans have one or more physical or
mental disabilities, and this number is increasing as the
population is growing colder;

(2) historically, society has tended to isolate and segregate
individuals with disabilities, and, despite some
improvements, such forms of discrimination against
individuals with disabilities continue to be a serious
and pervasive social problem;

(3) discrimination against individuals with disabilities
persists in such critical areas as employment, housing,
public accommodations....

(5) individuals with disabilities continually encounter
various forms of discrimination, ancluding outright
intentional exclusion, the discriminatory effects of
architectural, transportation, and communication
barriers, overprotective rules and policies, failure to
make modifications to existing facilities and practices,
exclusionary qualification standards and eriteria,
segregation, and regulation to lesser services, programs,
activities, benefits, jobs, and other opportunities;

(9) the continuing existence of unfair and unnecessary
discrimination and prejudice denies people with
disabilities the opportunity to compete on an equal basis

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Here, "[n]o individual shall be discriminated against on the
basis of disability in the full and equal enjoyment of the goods,
services, facilitates, privileges, advantages, or accommodations of
any place of public accommodation..." See 42 U.S.C. §12182 (a).
Liability is imposed upon "any person who owns, leases, {or leases
to}, or operates a place of public accommodation" that
discriminates against an individual on the basis of disability.
Td. Such discrimination includes the failure to remove
“architectural barriers" in existing facilities where such removal
is "readily achievable” or failure to make such facilities

avallable through aiternative methods if such methods are readily

and to pursue those opportunities for which our free
society is justifiably famous and costs the Unites States
billions of doliars in unnecessary expenses resulting
from dependency and nonproductivity.

See 42 U.S.C. §121101 (a) (1)-(3), (5) and (9).

Congress went on to say that the express purpose of the ADA
Title III was to:

(1) provide a clear and comprehensive national mandate for
the elimination o discrimination against individuals with
disabilities;

(2) provide clear, strong, consistent, enforceable standards
addressing discrimination against individuals with
disabilities; and

(4) invoke the sweep of congressional authority, including
the power to enforce the fourteenth amendment and to
reguiate commerce, in order to address the major areas of

discrimination faced day-to-day by people with
disabilities.

Congress gave Defendants and all other public access buildings one

and one half years from January 26, 1992 to comply with Title IIT
of the ADA.

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available. See 42 U.S.C. §12182(b) (2) (A) (iv) and {v). Defendant
has not challenged Plaintiff’s standing to bring an ADA Title Iti
Claims against Defendant for its failure to comply with the
mandates imposed on them by Congress."

In the instant case, Plaintiff wants Defendant to make the
Building accessible so that she and other disabled persons like her
can use the buildings like non-disabled persons. Because a private
action under the ADA may provide "injunctive relief... to [ ] make

facilities readily accessible to and usable by individuals with

disabilities," appropriate relief includes tctal compliance with

the ADA. See Emerick v. Kahala L& L, Inc., 2000 WL 687622, *12 (Dp.

Hawaii) (a disabled person’s desire to patronize a local
restaurant, but is unable to do so because of the ADA violations,
is real and personal and establishes standing} .

As stated above, because Plaintiff is seeking injunctive
relief to cure or address the architectural barriers that she
encountered at Defendant’s Building, which Defendant agreed to
remove on or before May 18, 2004, such injunctive relief would
include “an order to alter the facilities to make such facilities
readily accessible to and usable by individuals with

disabilities...." 42 U.S.C. §12188(a) (2).

“See Johanson v. Huizinga Holdings, iInc., 963 F.Supp. 1175,
1177 (S.D. Fla. 1997); Botosan v. Paul McNally Realty, 216 F.3d 827
(9th Cir. 2000) (standing by person suing office building since
building did not have adequate handicap parking); Steger v. Franco,
Inc., 228 F.3d 889 (8th Cir. 2000) (blind visitor to office
building had standing to sue since he could not get into bathrooms
where he had been in building before filing suit)

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Impairment, as defined at 28 C.F.R. §36.104, for Title TII

cases is a broad term. See Sutton v. United Air Lines, Inc., 527

u.S. 471, 490 (1990). The EEOC defines "major life activities" as
"those basic activities that the average person in the general
population can perform with little or no difficulty." 29 C.FLR.
pt. 1630 App. §1630.2(4). According to the EEOC, they include
"functions such as caring for oneself, performing manual tasks,
walking, seeing, hearing, breathing, learning and working." 29
C.F.R. §1630.2(i).

In this case, Plaintiff’s ability to walk before her fall at
the Buiiding and after her fall at the Building falls way below
that of "the average person in the general population." On March
12, 2007, Piaintiff could not walk down the ramp without assistance
or without holding onto the rail with both her hands while taking
small steps.

Now, Pilaintiff’s ability to walk is substantially worse than

it was before she fell. As provided in Bragdon v. Abbott, 524 U_S.

624, 641 (1998), contrary to Defendant’s suggestion that
"substantial limitation" does not need to rise to the level of
"utter inabilities." On Plaintiff’s “bad days," when she lies in
bed in agony due to her physical condition from the fall at the
Building, she is not even walking.

Moreover, the complained of condition (in this casa
Plaintiff’s- ability to walk or move like a normal person) does not

need to be continuous. See Bragdon v. Abbott, 524 U.S. 624, 647

(1998); Taylor v. Phoenixville School Dist., 184 F.3d 296, 308-99

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(3d Cir. 1999) (episodic condition can easily qualify person for
coverage under the ADA). Here, Plaintiff had and has good days and
bad days. On good days, Plaintiff can walk 20-25 feet without

assistance. See PGA Tour v. Martin, 532 U.S. 661, 121 S.ct. 1879,

1865-86 (2001) (disability was not contested on appeal but Court
noted that Martin had a disability to because his degenerative
circulatory disorder caused severe pain and prevented him from

walking an 18-hole golf course); D’Amato v. Long Island Railroad

Co., 2001 WL 563569 (S.D. N.¥ may 24, 2001) (inability to walk 50-
100 feet is enough evidence of a substantial limitation in walking
to go to the jury). As provided above, on bad days, Plaintiff
cannot even get out of bed because of the pain she experiences in
her back and feet. SOF 9qi8-19.

In this case, Plaintiff suffers from multiple diagnosed
chronic conditions that combine to limit her daily ability to work
(Plaintiff has not worked since 1999), drive (she has a handicap

sticker), and walk. See 29 C.F.R. pi. 1630 App. §$1630(2) (43); ERoc

Compliance Manual §902.4(e). From 2000 through 2005, Plaintiff was

receiving social security payments. See Lawson v. cCSx

Transportation, Inc., 245 F.3d 916, 927 (7th Cir. 2001). Since
August 2006, Plaintiff has and continues to have metal rods and
screws in her back. That alone gives her an impairment rating
according to the American Medical Association of at least 20%. SOF
qi7.

In this case, Plaintiff has also established a clear record of

her disability since she has been treated and continues to be

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treated by various doctors for her back and feet. SOF qg§ 10-79.

See Wheaton v. Ogden Newspapers, Inc., 1999 U.S. Dist. LEXTS 15841
(N.D. Iowa 1999) (multiple hospitalizations and ongoing treatments
for severe back condition could constitute a "record" of
disability). Defendant is simply misconstruing what Plaintiff
meant as "fine" when she described her physical condition after her
August 2006 operation. As provided in Plaintiff’s Statement of
Facts, Plaintiffi’s use of "fine" is comparative. Before the
operation, Plaintiff was in constant agony. After the operation,
Plaintiff felt better. That does not mean that Plaintiff was
"fine" when compared to the average person who does not have rods
and screws in their back, asthma, and a heart condition.

Even assuming that Defendant’s claim that on the day that
Plaintiff fell at the Building she was not "disabled," since her
fall and through this date, because of the serious injuries she
suffered due to the fall, Plaintiff is most certainly disabled now
and at the time that she filed this lawsuit. Defendant has
presented no medical evidence or other competent proffer to
demonstrate the contrary. The average person does not have had
days when, because of pain to their back and feet, they cannot get
out bed or they wake up constantly throughout the night due to the
pain. SOF Qi9. Simply put, because of the fall, Plaintiff is back
to her pre-operative condition of being in “constant pain."

Defendant’s myopic concentration of Plaintiff’s physical
condition just prior to the fall is misplaced. Plaintiff did not

file her ADA Title III claim until after her fall at the Building.

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As such, for purposes of analyzing Plaintiff’s claim of disability,
what her physical condition was prior to the fall is irrelevant and
her description of her physical condition as "fine" before her fall

at the Building is irrelevant to this case.

V. CONCLUSION

Based on the foregoing, Defendant’s Motion For Summary

Judgment should be denied.

Respectfully submitted,

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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that: I electronically filed the foregoing
document with the Clerk of the Court using CM/ECF; and that the
foregoing document is being served this day on all counsel of
record or pro se parties identified on the attached Service in the
manner specified, either via transmission of the Notices of
Electronic Filing generated by the CM/ECF or in some other
authorized manner for those counsel or parties who are not

authorized to receive electronically Notices of Electronic Filing,
this March 7, 2008.

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